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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE

10    NORITA C. SORENSON as General
      Personal Representative of the Estate of          NO. 2:23-cv-804-JHC
11    REID S. SORENSON,
12                                  Plaintiff,          STIPULATION ORDER OF DISMISSAL
13           v.                                         AS TO FOSS MARITIME COMPANY
                                                        ONLY
14    AIR LIQUID SYSTEMS, CORPORATION,
      successor-by-merger to Buffalo Pumps, Inc,
15    et al.
16                                  Defendant
17

18
                                                 STIPULATION
19
            Plaintiff Norita C. Sorenson (“Plaintiff”) and Defendant Foss Maritime Company LLC
20

21   (“Defendant”), by and through their undersigned counsel of record, hereby stipulate that all claims

22   by and between Plaintiff and Defendant in this action have been resolved and shall be dismissed

23   with prejudice and without award of costs or fees to either party pursuant to Rule 41(a)(1)(A)(ii)
24

25

26   STIPULATION AND ORDER OF
     DISMISSAL AS TO FOSS MARITIME
     COMPANY, LLC ONLY - 1
     NO.: 2:24-CV-00804-JHC
              Case 2:23-cv-00804-JHC Document 378 Filed 06/20/24 Page 2 of 3




     of the Federal Rules of Civil Procedure, and these parties request that the Court enter the Order
 1

 2   as indicated below consistent with this stipulation.

 3
            Dated this 20th day of June, 2024.
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 6   MAUNE RAICHLE HARTLEY                                  LISKOW & LEWIS
     FRENCH & MUDD LLC
 7
                                                            BY:   /s/ Raymond T. Waid
 8   BY:     /s/ Meredith Good                              Raymond T. Waid, WSBA # 53671
     Meredith B. Good, WSBA # 39890                         Elizabeth A. Strunk, WSBA #57894
 9   Daniel Casey Dineen, WSBA # 57317                      701 Poydras Street, Suite 5000
     John Louis Steffan IV, WSBA # 60564                    New Orleans, Louisiana 70139
10   80 SE Madison Street, Suite 310                        (504) 556-4042 Telephone
     Portland, Oregon 97214                                 (504) 556-4108 Facsimile
11
     (314) 241-2003 Telephone                               rwaid@liskow.com
12   (314) 241-4838 Facsimile                               eastrunk@liskow.com
     pnwservice@mrhfmlaw.com                                Attorneys for Foss Maritime Company,
13   Attorneys for Plaintiff                                LLC
14

15                                                ORDER
16
            THIS MATTER having come before the Court by way of stipulated motion by Plaintiff
17
     and Defendant Foss Maritime Company, LLC to dismiss this action, including any and all claims,
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     by and among the parties hereto with prejudice and without costs and/or attorney fees to any party,
19
     and the Court being fully advised, it is hereby ORDERED as follows:
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21          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all claims by and

22   between Plaintiff and Defendant Foss Maritime Company, LLC in the above-entitled action are
23   dismissed with prejudice and without award of costs or attorney fees to either of the parties
24
     pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.
25

26   STIPULATION AND ORDER OF
     DISMISSAL AS TO FOSS MARITIME
     COMPANY, LLC ONLY - 2
     NO.: 2:24-CV-00804-JHC
            Case 2:23-cv-00804-JHC Document 378 Filed 06/20/24 Page 3 of 3




           Dated this 20th day of June, 2024.
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 2                                              __________________________
                                                JOHN H. CHUN
 3                                              UNITED STATES DISTRICT JUDGE
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26   STIPULATION AND ORDER OF
     DISMISSAL AS TO FOSS MARITIME
     COMPANY, LLC ONLY - 3
     NO.: 2:24-CV-00804-JHC
